                                  2:11-cv-02143-MPM-DGB # 1                Page 1 of 9
                                                                                                                          E-FILED
                                                                                   Thursday, 02 June, 2011 12:15:10 PM
                                                                                          Clerk, U.S. District Court, ILCD

                              ONT'fED STATES DISTRlCT COURT
                              CENTRAL DISTRICT OF ILLINOIS


t]/C}7AQj ~T 5(~jAN\'56W                                  )
                            Plaintiff                     )
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                                                          )                                            JUN "" 2 2011
                                                          )                                     QUiRK OF TI-I= COURT
                                                                                                 U,S, OIf,liRI01' cOU~T
                                                  COMPLAlNT                                 QINiAAI" CII'rr1\IOT OF IL~INOI.

            42 U.s.C. §1983 (suit against state officials for constitutional viotaticms)

o           28 U.S.C. § 1331 (suit against federal officials for constitutional violations)




Please note: This form has been created for prisoners but can be adapted for use by non-prisoners.

         Now comes the plaintiff, -'---'~.£....L:-~~L--::"""":::'=':"-:""""""':::"""               '   and states as follows:

My current address is:




The defendant     K. AiVgl/tJ                             , is employed as     AcL1'tB         U"J!-\fdeN
[)ANVi!i<z (or«z,cf,oI'Jjd C~,N+((,('               at    38(~O <2A51- fv'JAiN         51   DAN\I/I/<E: ~C{ 6/8?II
The defendant     \1 CAllow/lfjI                 ) is employed as A55/siAN+ LJ.JA('(!eN
)JAN \idle co('(tc-t-/orJAI           C/6N+er at 38::;0 eAS1' MA/trJ S+ PAN \Idle ~rl 6/83~
The defendant    J~ W/ /!AfJ7Al'"                         , is   employed as   )\55)~5fAI',J+          LyArdeN
bAN I/t/I<L (,O(VlchoN;1/ cetJhz('                   at   ~~--=-~--'---"-'~----J!.....LLJ.~~==";"'-:'-""----
                               2:11-cv-02143-MPM-DGB # 1        Page 2 of 9




For additional plaintiffs or defendants, provide the information in the same format as above on a

separate page.

UTIGATION JHlSTORY

A.   Have you brought any other lawS'uits in state or federal court dealing with the same facts

involved in this case?                     Yes    o                              No   &I
If yes, please describe



B. Have you brought any other lawsuits in state or federal court while incarcerated?

                                           Yes                                   No    Q

C. If your answer to B is yes, how many?   ONeJ       Describe the lawsuit in the space below. (If there

is more than one lawsuit, describe the additional lawsuits on another piece of paper using the same

outline.)

     1. Parties to previous lawsuit:

        Plaintiff(s)      Mf(JhAei ··'T' ,S{A)AN 00N
        Defendant(s)



     2. Court (if federal court, give name of district; if state court, give name of county)

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                 2:11-cv-02143-MPM-DGB # 1                 Page 3 of 9




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                                       2:11-cv-02143-MPM-DGB # 1                    Page 5 of 9




     3.   Docket Number/Judge           _--=='--...:=L~--..-::-::_----:-_C-.-_~L:_.:_::::::.__=___=__                         _



     4.   Basic claim made - - p - - f - - - - = : - . - - - - ' - - . . . : j - - - - - - - - - - - - - - - - - - - - - - - -

     5. Disposition (That is, how did the case end. Was the case dismissed? Was it appealed? Is it

          still pending?)

     6. Approxim3te date of filing of 1awsui t-=------:.                   -=-_--=-                                           _

     7. Approximate date of disposition                                                                        ~                  _

For additional cases, provide the above information in the same format on a separate page.



EXHAUSTION OF ADMJNlSTRATIVE REMEDIES

A. Is there a grievance procedure available at your institution?                           Yes      rg/   No    0

B.. Have you filed a grievance concerning the facts relating to this complaint?                           Yes       &I   No       0


If your answer is no, explain why not                                      ~-_--------------



c.    Is the grievance process completed?                 Yes      "        No      0

PLEA.SE NOTE:             THE PRISON UTIGATION REFORM ACT BARS ANY INCARCERATED

PERSON FROM BRINGING SUIT CONCERNING THE CONDITIONS OF HIS CONFINElMENT

UNLESS AND UNTIL HE HAS EXHAUSTED AVAILABLE ADMINISTRATIVE REMEDIES.

PLEASE ATTACH COPIES OF MATERJALS RELATING TO YOUR GRIEVANCE.
                                      2:11-cv-02143-MPM-DGB # 1                 Page 6 of 9




                                               STATEMENT OF CLAIM

Place of the   occu~ence~L~~~~~~~v~;~II~:e~·_~~1~_·_r_(_·~~:~~_··~_/~·~~_~/__C_·.~~~~_~~e~/(_' ~~~~~~~
D3te of the occurrence      ------'--=--------"------'--=--.                                                           _




Witnesses to the occurrence         ---L-l~---'--=                                                                _




State here bnefly the FACTS that mppon your case. Describe how EACH defendant is involved,
Do not give any legal arguments or cite cases or statutes, Number each claim in a separate paragraph. Unrelated claims
should be raised zn a separate civil action,
               THE COURT STRONGLY URGES DIAT YOU USE ONLY THE SPACE PROVIDED.




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                                 RELIEF REQlJESTED

                        (State e:uJctly what relief you want from the court')




            C.ocj-
               ,,J .•




JURY DEMAND                       Yes                                               No      0


    Signed this   \                      day of     !)7A      y                                 ,-. J all
                                                                    ( Signature of Plaintiff)



                                                     Inmate Identification Number:



                                                     Telephone Number:

                                                          NONe
                                 2:11-cv-02143-MPM-DGB # 1                                Page 9 of 9


STATE OF ILLINOIS

       OF JOHNSON           )



                                                       AFFIDAVIT
      I,                                     __ ,
           .f-!~~-'-'-_---"--""'--'--'---"--=--
                                                           after being sworn upon my oath, depose
and states as follows:




      I am                 this affidavit for the purpose of




      I make the following statements on oath regarding the purpose
                                  stated above:




                                                                                     /S


 Subscribed and Sworn to me


                                             THERE~~~:;¢~~-J
      LU4Jk~~~....c;....~""""=-f/-+-WtmyPublic·        State of Illinois
                                       My Commission Expires Apr 22, 2014
                                            ~."'"    ...   ,~----    ...........'"
